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                                 Ammie Hale                            )                                                     '
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                    I> the com p
                               'lainantinthiscase,state thatthe followingistrue to thebestofmy knowledgeand belief.      .


            on orabouttbedatets)of     Februaw 26& July 1,2020     iuthecountyof                        Tazewell                 inthe
                western     Distzictof       Virginia      ,thedefendantts)violated:
                       Codcs'
                            cc/fon                                             OKenseDc-
                                                                                       vcfwfforl                 '
            18 USc 1709                                TheftofMailMatterby OfficerorEmployee




                     Thigcriminalcomplaintisbased on thesefacts:
            See attached affidavit.




                     # continuedonthcattachedsheet.
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                                                                                  Todd C.Phillips, ècialAgent,USPSZOIG
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            city and state:                 Abingdon,M rginia                   Fbamelà Meade sargent,U.S.Magistrate Judgp
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Todd Philllps, being duly sworn, deposes and says:



        am a special Agent with the United States Postal Service

Office of lnspector General (''USPS-OIG''), agsigned to the Roanoke, VA

fleld office, and have been so employed for the past eighi years. As
part of      daily duties as a USPS-OIG
                                   '
                                        Spedial Agent, I investigate
                                            ,



mail theft? financial fraud, and narcotics trafficking through the

United States Mail. I have completed the Criminal Investigator

Training Program at the Federal L@w Enfotcement Sraining Center.

     I submit this affidavit in support of d criminal complaint

charging Ammie Hale (hereinafter uHa1e''), with violating Title 18,
United States Code, Section           (Theft of mail matter by Officer or

Employee).

     Thq statements contained         the affidavit are based upon my

personal knowledge, observations and revlew of records and other
physical evidence obtaihed during my investigation , and upon my

training as a OSPS-OIG Special Agent. Because this affidavit is bding

submitted for the liMited purpoée          securing a cfiminal complaint,

have not included each and every fact known to me concerning this
investigation .    have set forth only the facts that         believe are

necessary to establish probable cause that the defendant did

knowingly violate Title 18, United States Code, Section 1709.
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      In September 2019 the USPS-OIG was first notified by the Salem ,

VA Veterans Affairs Mediçal Center I'AVAMC''I of four medication

parcels mailed to veterans         Tazewell, VA that were never delivered .

The Salem VAMC advised all four medication parcel'
                                                 s contained

controlled narcotics including Hydrocodone, Oxycodonef and

Hydromorphone . During the course of the investigation from September

2019 through July 2020, the USPS-OIG received a total of 44 veports

from the Salem VAMC of medication parcels mailed to veterans

Tazewell, VA that were never delivered. The USPS-OIG received

additional reports of medication parcels either found ripped open

during processing or not delivered, that were not mailed by the Salem

VAMC .

     On February 25, 2020, a USPS-OIG Techhical Operations Officer

installed a covert surveillance camera at the Tazeweli, VA Post
Office to recotd video of the parcel sorting area .

     On March 2, 2020,       was notified by the Salem VAMC that

medication parcel bearing tracking number 9400 1102 0082 9239 0151 86

was never delivered to a veteran in Tazewell, VA and contained

tablets of Oxycodone         mg. Continuing on March        2 020 ,   exchanged

covert surveillance video hard drives from the Tazewell, VA Post

Office .   subsequently reviewed video recorded on February              2020,

the date parcel               0082 9239 0451 86 was expected to arrive at

the Tazewellr VA Post O'
                       ffice for delivery . The recorded video details
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a female clerk sorting numerous parcels and scanning them ''Arrival at

Unit'' with a scanner . Thê clerk is observed grabbing a white parcel

bag consistent with how medication parcels from the Salem VAMC are

shipped . The clerk can be seen manipulating the contents through the

parcel packaging . The clerk then walks away from the sorting area

with the parcel in hand and continues behind a carrier case and

cabinet .    short time later, the clerk is seen returning to the

parcel sorting area without the parcel          her hand .     noted the clerk

did not scan the parcel tracking barcode N'Arrival at Unit'' which is

consisteni with all the medication parcels reported missing. On April

     2020,   showed the recôrded video to the Tazewell, VA Post Office

Postmaster who identified the clerk as Hale . Additionally, the

Postmaster advised the area behind the carrier case and cabinet ,

where Hale took the parcel             the location the clerks keep their

Purses .

7.   On April 29, 2020,      USPS-OIG Technical Operations Officer

installed a covert surveillance camera at the Tazewell,             Post

Office to record video of the cabinet where the clerks keep their

Purses.

8.   On July 16, 2020, I was notified by the Tazewell, VA Post Office

Postmaster that a Tazewell, VA customer reported not receiving their

medication parcel bearing tracking number                    2670 9809 8933 42

and containing Xanax . On July 2O, 2020,        exchanged covert
Case 1:20-cr-00029-JPJ-PMS Document 3 Filed 08/04/20 Page 5 of 5 Pageid#: 7



                                     !
surveillance video hard drives from the Tazewell, VA Post Office.

subsequently reviewed video recorded on July 1, 2020, the date parcel

9202 1901 2670 9809 8933 42 was expected to arrive at the Tazewell,

VA Post Office for delivery . Hale is observed placing her purye in

the cabinet at the beginning of her shift. Approximately an hour and

twenty minutes later, Hale is then seen returning to the cabinet with

two white parcel bags consistent with how some medication parcels are

shipped . Hale continues to open her purse, p lace the white parcels

inside her purse, zip it closed, and close the cabinet doors. At 9 :21

a .m . in the video Hale is seen retrieving her puràe from the cabinet

and walking out of camera view .         reviewed U .S . Postal Service

records detailing Hale clocked out of work at 9:21 a .m .




WHEREFORE , based on the foregoing,         respectfully subm it that there

is probable cause       believe that Amm ie Hale,          matter within the

jurisdiction of fhe executive branch of the Government of the United
States, knowingly and willingly stole mail while employed by the U .S.

                                            18, United States Code , Section

1709.



                                 Todd       Phillips

                                 Special Agent

                                 United States Postal Service

                                 Office of Inspector General


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